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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA                                       NOTICE OF
                                                    RESCHEDULED HEARING
       vs
                                                    Case Number: CR-22-357-F
OSCAR AMOS STILLEY                                  USM No.:     10579-062

Defendant is on supervised release.


Type of Case                                           X   CRIMINAL


TAKE NOTICE
That a proceeding in this case has been RESCHEDULED for the place, date and time set forth
below:

Place: U.S. Courthouse                                     Date and time previously scheduled:
       Courtroom #401                                      September 12, 2022, at 9:30 a.m.
       200 N.W. 4th Street
       Oklahoma City, OK 73102                             RESCHEDULED TO:
                                                           September 12, 2022, at 9:00 a.m.

All attorneys and other persons entering the U.S. Courthouse will be required to show valid photo
identification to the court security officer.


TYPE OF PROCEEDING:                                        REVOCATION HEARING




                                                           JUDGE STEPHEN P. FRIOT

September 8, 2022
Date                                                          s/ Lori Gray
                                                             BY DEPUTY CLERK

AUSA (Dillon)
USM
USPO (Holloway)
